Case 2:20-cv-00630-JMS-DLP Document 63 Filed 01/15/21 Page 1 of 5 PageID #: 1174




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

 PATRICK R. SMITH and                       )
 BRANDON S. HOLM, individually and          )
 on behalf of all others similarly situated,)
                                            )
                Plaintiffs,                 )
                                            )
        v.                                  )          Cause No. 2:20-cv-00630-JMS-DLP
                                            )
 JEFFREY ROSEN in his official              )
 capacity as the Acting Attorney General of )
 the United States, et al.,                 )
                                            )
                Defendants.                 )

          DEFENDANTS’ RESPONSE TO COURT’S ORDER TO SHOW CAUSE

        Having now failed several times to enjoin the lawful execution of other prisoners in other

 facilities, plaintiffs now bring this unsupported and legally erroneous motion for contempt in an

 eleventh-hour attempt to halt sentences with which they disagree. Defendants have complied

 with this Court’s order to “enforce mask requirements for all staff participating in the

 executions.” Plaintiffs have not shown that defendants violated this Court’s preliminary

 injunction, and they have not shown any entitlement to the relief they request.

        A contempt finding would be inappropriate because plaintiffs have not satisfied their

 burden of showing that defendants failed to comply with this Court’s order. To show that

 defendants violated a court order, and thus to permit the Court to hold defendants in contempt,

 the plaintiffs must make four showings. “(1) the Order sets forth an unambiguous command; (2)

 [defendants] violated that command; (3) [defendants’] violation was significant, meaning it did

 not substantially comply with the Order; and (4) [defendants] failed to take steps to reasonabl[y]

 and diligently comply with the Order.” Prima Tek II, L.L.C. v. Klerk’s Plastic Indus., B.V., 525
Case 2:20-cv-00630-JMS-DLP Document 63 Filed 01/15/21 Page 2 of 5 PageID #: 1175




 F.3d 533, 542 (7th Cir. 2008). Plaintiffs cannot satisfy those requirements.

        First, defendants’ compliance with the plain language of this Court’s preliminary

 injunction makes contempt improper. Plaintiffs cannot show that the preliminary injunction set

 forth an “unambiguous command” that would forbid the two staff members in the execution

 chamber from removing their masks if operational concerns justified it. The order to “enforce

 mask requirements for all staff participating in the executions” did not define the term “mask

 requirements” and set forth the exact circumstances in which masks must be worn. Indeed, this

 Court and the plaintiffs were already on notice that staff members within the execution chamber

 removed their masks after the curtains were raised that separated the execution chamber from

 adjacent chambers. ECF No. 33-2 ¶ 6. As the attached declaration of Rick Winter makes clear,

 the same was true for the execution of Corey Johnson. Winter Decl. ¶ 6–7. It was necessary for

 those staff members to remove their masks for clear communication, including ensuring that

 there were no legal impediments to proceeding with the execution. Id. ¶¶ 6–8. And contrary to

 plaintiffs’ so-called evidence, that declaration makes clear that the removal of masks was only

 temporary and to effectuate those purposes. If plaintiffs believed that this past documented

 practice was not adequate to “enforce mask requirements,” they should have moved this Court

 for clarification. Nothing in the Court’s order purported to prohibit staff from removing their

 masks for operational concerns, especially those as important as ensuring that the execution can

 lawfully proceed. For the same reason, plaintiffs cannot show that there was any violation of the

 terms of the injunction.

        Likewise, plaintiffs cannot show substantial noncompliance, which is necessary for a

 finding of contempt. Even if the injunction were interpreted to prohibit staff from removing a

 mask temporarily to communicate more clearly at a critical juncture—when only four people,



                                                  2
Case 2:20-cv-00630-JMS-DLP Document 63 Filed 01/15/21 Page 3 of 5 PageID #: 1176




 including the condemned, are in the room—the temporary removal of the masks is not sufficient

 noncompliance to justify a finding of contempt. Likewise, defendants’ efforts to comply with the

 injunction have been reasonable and diligent, and plaintiffs cannot show that the mission-critical

 temporary removal of two staff members’ mask shows a failure to reasonably and diligently

 make efforts to comply. For those reasons, plaintiffs have not satisfied any of the requirements

 necessary for a contempt finding.

        Not only have they failed to show that defendants violated the injunction at all, but their

 requested relief is inappropriate and abusive. They have not shown that the halting of the

 imminent execution is tailored at all to the alleged violation of the preliminary injunction or any

 harms that will allegedly result from it. Even when dealing with legal challenges from the

 inmates actually facing execution, the Supreme Court has repeatedly made clear that “‘[l]ast-

 minute stays’ … ‘should be the extreme exception, not the norm.’” Barr v. Lee, 140 S. Ct. 2590,

 2591 (2020) (quoting Bucklew v. Precythe, 139 S. Ct. 1112, 1134 (2019)). If plaintiffs believed

 that they face substantial danger of contracting COVID if officials in the execution chamber

 remove their masks while giving directions—a practice of which defendants were already on

 notice—they would be seeking an order for those officials to keep their masks on during that

 time period. Instead, they have brought yet another in their long line of attempts to use COVID

 as a means of prohibiting lawful capital sentences from being carried out.

        Plaintiffs have not proven any noncompliance with the Court’s preliminary injunction, let

 alone any actions that could sustain a contempt finding. This Court should not excuse plaintiffs

 from their burden and should not order an extraordinary remedy unrelated to the harms plaintiffs

 allegedly fear.




                                                  3
Case 2:20-cv-00630-JMS-DLP Document 63 Filed 01/15/21 Page 4 of 5 PageID #: 1177




 Dated: Jan. 15, 2021                      Respectfully submitted,

                                           JOHN C. CHILDRESS
                                           Acting United States Attorney

                                           Shelese Woods
                                           Assistant United States Attorney

                                           Brigham J. Bowen
                                           Assistant Director

                                           /s/ Jordan L. Von Bokern____________
                                           Lisa A. Olson
                                           Jordan L. Von Bokern
                                           U.S. Department of Justice
                                           Civil Division, Federal Programs Branch
                                           1100 L Street, N.W.
                                           Washington, DC 20001
                                           (202) 305-7919
                                           Lisa.Olson@usdoj.gov
                                           Jordan.L.Von.Bokern2@usdoj.gov

                                           Counsel for Defendants




                                       4
Case 2:20-cv-00630-JMS-DLP Document 63 Filed 01/15/21 Page 5 of 5 PageID #: 1178




                                 CERTIFICATE OF SERVICE


        I hereby certify that on January 15, 2021, the foregoing was filed electronically through

 ECF/CM. On this same date, electronic service will be made to all counsel of record through the

 Court’s ECF/CM system.



                                                     /s/ Jordan L. Von Bokern
                                                     Jordan L. Von Bokern
                                                     Trial Attorney




                                                 5
